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                                                                     2021 Sep-03 PM 05:45
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                EXHIBIT
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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD                                 :
ANTITRUST LITIGATION                                          :      Master File No. 2:13-cv-20000-RDP
MDL 2406                                                      :
                                                              :
                                                              :
                                                              :      This document relates to
                                                              :      Subscriber Track cases


                     DECLARATION OF JENNIFER M. KEOUGH
            REGARDING NOTICE PLAN AND SETTLEMENT ADMINISTRATION


I, JENNIFER M. KEOUGH, declare as follows:

           1.       I am Chief Executive Officer (“CEO”) of JND Legal Administration LLC (“JND”).

JND has extensive experience with all aspects of legal administration and has administered

settlements in hundreds of class action cases.

           2.       JND was appointed as the Notice and Claims Administrator 1 in the above captioned

litigation for the purposes of administering the Settlement Agreement, dated October 30, 2020,

which was approved preliminarily by the Court in its Memorandum Opinion and Order

Preliminarily Approving Settlement, Plan of Distribution, and Notice Plan, and Directing Notice

to the Class, dated November 30, 2020 (“Preliminary Approval Order” or “Notice Order”).

           3.       I previously filed a Declaration Regarding Proposed Notice Plan, dated October 30,

2020 (“First Keough Declaration”). This Declaration is being filed to report on the implementation

of the Notice Plan and the results of that plan to date. It is based on my personal knowledge, as




1
    Unless otherwise noted, capitalized terms have the same meaning as in the Settlement Agreement.
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well as upon information provided to me by experienced JND employees, and if called upon to do

so, I could and would testify competently thereto.

                                   I.   NOTICE PLAN SUMMARY

       4.      The Notice Plan that was designed and executed by me and other JND team

members under my direction, and which was approved by the Court as noted in Paragraph IV.G.

of the Notice Order, included a substantial direct notice effort, an extensive consumer and entity

media campaign, and other extended efforts. The Notice Plan ran from March 26, 2021, through

May 31, 2021. Since that time, we have been implementing a reminder notice program. In my

experience, this is one of the most comprehensive overall notice programs ever in a class action

settlement.

       5.      The direct notice effort included postcard and/or email notice to all Damages Class

Members for whom the Settling Defendants provided contact information. In total, we sent more

than 100 million direct notices.

       6.      The media campaign included: (a) a combination of digital ads (English and

Spanish) placed on the leading digital network (Google Display Network – “GDN”) and the top

social media platform (Facebook); (b) a full-page color notice in two popular magazines (People

and Better Homes & Gardens); (c) 30-second radio spots (English and Spanish) broadcast through

a leading satellite radio provider, two premiere radio networks, syndicated programming in the top

ten African American markets, and two leading Spanish radio providers in the top ten Hispanic

markets; (d) digital ad impressions served on two major streaming audio services; and (e) a 30-

second television spot broadcast on a variety of popular cable networks, syndicated programs, and

network morning news programming.




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       7.      The entity media campaign consisted of digital notice placements with the leading

professional social media platform (LinkedIn) and top business and human resource websites, as

well as industry e-newsletters.

       8.      Extended efforts included a third-party outreach effort to a purchased list of

HR/employee benefit and other relevant job titles, an internet search campaign, a multichannel

news release (“MNR”), and a link to the Settlement Website that was placed on BCBS.com by

Settling Defendants.

       9.      Immediately following the conclusion of the Notice Period, JND began sending

reminder email notices to potential Damages Class Members who had not yet filed a claim or opted

out of the Class. JND will continue to send such reminder email notice to Damages Class Members

until just before the November 5, 2021 claims filing deadline. In addition, a media claims

stimulation effort will be implemented closer to the November 5, 2021 claims deadline to remind

potential Damages Class Members of that approaching claims deadline.

       10.     JND established and has maintained a dedicated Settlement Website for this case

where information about the Settlement, as well as copies of relevant case documentation,

including but not limited to the Settlement Agreement, the Plan of Distribution, the Long Form

Notice, and the Claim Form, are accessible to Class Members. The Settlement Website also is the

main mechanism for claim filing in this Settlement and Damages Class Members are encouraged

to file claims online through the secure Settlement Website portal. The website is ADA-compliant

and mobile-enabled. In addition, JND created a QR Code (a matrix barcode) that allowed for

quick and direct access to the Settlement Website through mobile devices.

       11.     JND also established and has maintained two P.O. boxes, an email address, and a

toll-free telephone number with dedicated operators available Monday through Friday between




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9:00 am and 5:30 pm Central Time. During non-business hours, an Interactive Voice Recording

system (“IVR”) is available so that Class Members can listen to a menu of options providing

various information about the Settlement and can also request a Long Form Notice and Claim

Form.

        12.    To date, more than 6 million claims have been filed, 99% of which have been filed

online. Claims have been filed from all fifty states and territories. Based on my experience in

developing and implementing class notice programs, I believe the Notice Plan met, and exceeded,

the standards for providing the best practicable notice in class action settlements. The specifics of

the Notice Plan are discussed in detail below.

                    II.   NOTICE PLAN IMPLEMENTATION DETAILS

        13.     According to this Court’s Notice Order, Notice was scheduled to begin once

Defendants, or their representatives, produced a “complete set of Class Member Data” to JND.

The deadline for submitting that complete set of data, per the Notice Order, was March 1, 2021.

After such receipt, JND had three months, until May 31, 2021, to implement the Notice Plan.

Therefore, once the Notice Order was granted in late November 2020, JND began as much up-

front work as possible to prepare for the commencement of Notice.

        14.    For example, we began immediately building the framework for the Settlement

Website, which needed to be able to withstand tens of millions of “hits,” developing telephone

operator scripts from the Settlement Agreement and other case documents, preparing for printing

and emailing the Notice to tens of millions of potential Damages Class Members, and making sure

that we would be able to procure the necessary media ad space on a multitude of platforms.

However, the most daunting task in preparing for Notice was parsing the Damages Class Member




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data we were expecting to receive here. It was imperative that we did as much up-front work as

possible to be ready for the transfer of all data by March 1, 2021.

           A.      DATA TRANSFER

           15.     Handling notice and administration in this case required the processing of hundreds

of millions of pieces of data from some 35 different Blue Cross Blue Shield (“BCBS”) entities

(“Blue Plans”). 2 The production of data involved many steps. First, each Blue Plan was required

to submit its data to Defendants’ data expert, Charles River Associates (“CRA”). Second, because

social security numbers and dates of birth were not going to be supplied to JND, CRA performed

some data analysis and preparation prior to transmitting the data to JND. Third, JND and CRA

needed to work together so that the data could be transferred to JND in a way that would allow us

to apply our deduplication process to the files and to perform the necessary printing and mailing,

as well as emailing of Notice.

           16.     To facilitate this transfer, JND and CRA, together with various counsel for the

parties, began having weekly conference calls in December 2020, so that JND could understand

how the data was being assembled by CRA and how it would be transferred to JND. I personally

attended these calls. Other participants, at times, from JND included my partner, Neil Zola; Darryl

Thompson, JND’s CIO; Derek Dragotta, JND’s Vice President of Information Security; and

Thomas Rentzeperis, JND’s IT Director.

           17.     Because of the very tight timeline for JND to effectuate Notice once the data was

actually produced, we requested test files from CRA so that we could identify potential issues in

the production before we received actual data. We asked CRA to produce this test data to JND for

multiple, different Blue Plans — as well as a statistically reliable sample size for each — so that



2
    We actually received data from 37 Blue Plans, but two such plans appeared to be subsumed by other BCBS Plans.


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JND could examine the exact fields of data that were being produced in the varying forms that

they were kept by different Blue Plans over the life of the Settlement Class Period after CRA’s

initial work with the data was completed. This helped us plan how we were going to take some

400 million Class Member records and develop a Class List complete with contact information

and plan of allocation data, while simultaneously resolving as much duplication as possible.

       18.     Complicating this test file production was that the parties were simultaneously

working with JND to obtain an additional cyber insurance policy to protect any data being

produced to JND. In order to effectuate production of test data prior to that policy being in place,

JND set up two standalone computer terminals, segregated in offices with cardkey access, so that

files could be transmitted via hard drive that would be loaded onto the terminals to only be accessed

and reviewed by Darryl Thompson and Thomas Rentzeperis. The first hard drive containing

sample data arrived on January 19, 2021.         These initial hard drives provided us a better

understanding of the data that we would eventually receive.

       19.     CRA began producing actual data to JND on February 13, 2021. For every file

received from CRA, JND applied 16 separate data validation checks that we designed as a result

of the test data we received to identify potential data issues with the provided files. Data issues

JND checked for included, among others, missing primary member flags (used to determine if an

individual is a subscriber being noticed or a non-subscriber member), subscriber IDs with no

covered member record (used to identify which individual within a subscriber group is the

subscriber receiving notice), covered member records without member demographic data

(indicating an individual exists that should be noticed but no demographic data was provided for

that individual), and employer groups with no member counts data (indicating an employer group

exists but has no associated subscribers).




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           20.      This process was very time intensive, particularly because of the volume at issue.

Between February 13, 2021, and March 1, 2021, JND received from CRA a total of 57-member

demographic data files containing in excess of 430,000,000 records associated with 35 Blue Plans.

Of the 57 files provided, 52 were original member demographic data files and five were

replacement files for the original member demographic data. Although the production was

supposed to be complete on March 1, 2021, beginning on March 2, 2021, and continuing through

May 25, 2021, JND received from CRA an additional 22-member demographic data files

containing in excess of 58,000,000 member demographic records belonging to 11 of the 35 Blue

Plans. 3     These 22 files were comprised of 12 replacement files (complete replacements of

previously provided data) and 10 supplemental files (additional data for previously provided files).

Thus, in total, we received 79 separate files of member data, 17 of which were complete

replacement files, requiring us to jettison any work we had done to that point on those original

files and begin anew once we received the replacement files.

           21.      In several instances, the replacement files contained less data than the original files.

Therefore, after processing all member demographic data files, the total member population was

in excess of 420,000,000 records.

           22.      In addition to this member data, between February 13, 2021, and March 1, 2021,

JND received 48 data files containing in excess of 8,900,000 employer group records belonging

to the 35 Blue Plans. Of these 48 files provided, 44 were original demographic group data and

four were replacement files for original demographic group data. Between March 2, 2021, and

May 25, 2021, JND again received an additional 17 data files containing approximately 1,000,000




3
    The production of data continued into June and July as well. We received our last file from CRA on July 30, 2021.


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employer group records belonging to 11 of the 35 Blue Plans. Of these 16 files provided, 9 were

replacement files and 8 were supplemental files to the original data.

       23.     As with the member data files, in many instances, the replacement group files

contained less data than the original files, resulting in a slight reduction in the overall group data

population of approximately 8,700,000 records. Thus, JND received a grand total of 144 separate

data files containing nearly 430,000,000 records that formed the basis for JND’s work to develop

the Class List here.

       24.     As explained above, CRA was charged with performing initial analysis and data

preparation of its files. Based on JND’s experience in handling class action mailings, JND was

trusted by the Parties to institute deduplication measures based on and in accord with industry best

practices to combine records so that we could reduce duplicate mailings.

       B.      DEDUPLICATION EFFORTS


       25.      In performing deduplication on each Blue Plans’ member demographic data,

JND’s expertise was applied. JND analyzed the data provided by CRA and determined the

following rules would be most effective at identifying member demographic records that were, in

fact, for the same individual. JND took special care to ensure that records with similar information

were not erroneously associated and denoted as duplicates. To accomplish this, JND first

compared full name and address (first name, last name, street, address2, address3, city, state, and

zip). Next, JND compared partial name, partial address, and a hashed Individual Unique Identifier

or hashed DOB (first 3 characters of first name, last name, first 10 characters of street, city, state,

and hashed Individual Unique Identifier or hashed DOB). Finally, JND compared first name,

partial address and hashed Individual Unique Identifier or hashed DOB (first name, first 10

characters of street, city, state, and hashed Individual Unique Identifier or hashed DOB).



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       26.      For cross plan deduplication, meaning reducing duplication not just within

individual plans but across multiple plans, JND again analyzed the data to determine the most

effective rules in order to achieve the highest quantity of deduplication while not deduplicating

individuals that were not conclusively the same person. Because each plan organizes its data in a

distinct manner, JND had to be very careful when searching for names and addresses across plans

to make sure that the deduplication was effective without losing any class member information.

Since the data came from some 35 different sources, this was one of the biggest challenges in the

deduplication effort. The first cross plan deduplication JND performed was on partial name,

partial address, and hashed Individual Unique Identifier (first three characters of first name, last

name, first 10 characters of street, city, state, and hashed Individual Unique Identifier). JND next

compared first name, partial address, and hashed Individual Unique Identifier (first name, first 10

characters of street, city, state, and hashed Individual Unique Identifier). The third compare JND

performed was full name and hashed Individual Unique Identifier (first name, last name, and

hashed Individual Unique Identifier). The fourth compare JND performed was first name, hashed

Individual Unique Identifier, and hashed DOB (first name, hashed Individual Unique Identifier,

and hashed DOB). The final cross plan comparison JND performed was last name, hashed

Individual Unique Identifier, and hashed DOB (last name, hashed Individual Unique Identifier,

and hashed DOB).

       27.     As explained above, we received 420-million-member records. JND was able to

identify 235 million as primary members. Using the deduplication techniques outlined above,

JND was able to reduce the number of unique records associated to primary members to 131

million. At that point, JND then performed an advanced credit bureau address search against all

unique records for which an email address was not included, to identify a current mailing address.




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JND also performed a United States Postal Service (“USPS”) National Change of Address

(“NCOA”) search to identify recent address changes and obtain the best possible postage rate from

the USPS.4 After address cleanup and standardization, JND combined the individual Blue Plan

member demographic data to perform a second deduplication process. This allowed JND to refine

the member demographic data to just over 100.3 million unique Damages Class Members

according to the Settling Defendants’ productions.

        28.      For the employer group data, we were able to refine that data set from over 8.7

million records to just over 2.6 million employer group records. In total, we entered the notice

phase of the program with approximately 103 million Damages Class Member records, a reduction

of more than 75% from what was produced to us by CRA, thus saving the program tens of millions

of dollars in potential postage charges alone.

        29.      We believe the deduplication process was very effective here, particularly

considering the vast amount of data involved, the condensed time period for performing the

mailing, the fact that we received multiple replacement files, and the fact that we continued to

receive tens of millions of pieces of data even after the deadline for production and while we were

in the middle of performing the actual mailings.

        C.       DIRECT NOTICE

        30.      As explained in detail below, direct notice was accomplished through a postcard

mailing and/or via email. Both notices provided important summary information about the

Settlement, including its terms, important dates, and how to participate. Both notices also directed

potential Class Members to the Settlement Website, where detailed information was available,


4
  The NCOA database is the official USPS technology product which makes change of address information available
to mailers to help reduce undeliverable mail pieces before mail enters the mail stream. This product is an effective
tool to update address changes when a person has completed a change of address form with the USPS. The address
information is maintained on the database for 48 months.


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including all of the Settlement documents and an extensive Frequently Asked Questions (“FAQ”)

section. For people with additional questions, both notices provided a toll-free telephone number,

and a dedicated email address so that people could ask additional specific questions. Finally, both

notices included a Spanish-language tag that directs Spanish-speaking Damages Class Members

to the Settlement Website, which is available in Spanish.

       Postcard Mailing

       31.     The Notice Order provided that JND would mail postcard notice to all potential

Damages Class Members identified in Settling Defendants’ data where a mailing address was

available, and no email address was available. In addition, we were to send a postcard to all

Damages Class Members where an email address was available, but the email bounced back.

Based on the data received from Settling Defendants, there were far more post office addresses

than email addresses for this population, making the largest component of the direct notice

program the postcard printing and mailing.

       32.     Postcards have become a much-used mailing vehicle in class action settlements.

This is largely because of the enormous cost savings, particularly in postage, when sending a

postcard rather than an envelope mailing. However, in order to make sure that a class action notice

postcard is not discarded as junk mail, it is important to make it stand out. Here, we used several

design elements for that purpose. First, this was not a standard two-sided postcard where all

information was open to anyone who saw the postcard. Rather, we used a double-panel, sealed

postcard so that the JND Unique record ID was hidden from public view. This required the

formatting of four separate postcard panels that were printed, folded, and sealed for privacy.

Second, the postcard design included blue color highlights and different fonts. Third, we also




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utilized the BCBS logos, permissions for which were provided by Settling Defendants’ Counsel.

Attached as Exhibit A is the Postcard Notice.

        33.      Another element that really stood out here was JND’s creation of a QR Code (a

matrix barcode) that allowed quick and direct access to the Settlement Website through mobile

devices. While QR Codes have been used in settlement notice programs before, the general public

has not been completely familiar with them. Interestingly, the timing of the COVID-19 pandemic

increased the utility of the QR Code here. That is because restaurants throughout the country

started using QR Codes during the pandemic instead of paper menus to decrease touch points

among customers. Thus, these QR Codes entered the mainstream like never before. 5

        34.      Printing a postcard with this many design elements and with volume in the tens of

millions requires very exact formatting so that the massive print presses can continue to run

without interruption and without error. One of the biggest potential dangers is formatting a

postcard without enough white space in the margin where the machinery can cut off a piece of the

language. Therefore, we ran substantial test batches and formatted and reformatted the postcard

several times to make sure that there would be no “bleed.” Also, digital production samples of the

postcards were reviewed for accuracy of the data file merge and the notice content, as approved

by the Court. Once formatting and test printing was complete, we moved into production mode,

with significant auditing on the printing floor to pull batches of printed postcards to confirm name,

address, mailing barcodes, JND Unique record ID, and the QR code that leads to the Settlement

Website. Additionally, we confirmed that each printing used the correct BCBS blue, Pantone

Matching System color 2995. We began printing and mailing postcards on March 29, 2021.




5
 We also included QR codes in other elements of the Notice Program, including the media print ads, as discussed
below.


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       35.     Continued production of data after the March 1, 2021 deadline complicated this

process. As we received this new and updated data, we had to ready new files for printing and we

had to do our best to continue the deduping process, even as tens of millions of notices were already

in the mail.

       36.     In all, this was one of the largest notice mailings ever in the history of class action

administration. From March 29, 2021, through May 28, 2021, JND mailed the Postcard Notice to

77,360,606 Damages Class Members for whom an email address was not known at the time of the

mailing or for whom the email notice was deemed ultimately undeliverable.

       37.     As explained above, prior to printing and mailing, JND updated all addresses with

the most current available information from both a credit bureau advanced level search and also

the USPS NCOA search. One of the benefits of the NCOA search is that in addition to providing

updated address information it allows a company to group print files by region and ZIP code, thus

enabling discount postage rates.

       38.     Here, the NCOA search, coupled with our analysis of Blue Plan data files and

grouping of records into geographic zones by ZIP code, allowed for saturation of the mail stream

to obtain maximum postage savings. As a result, our overall blended postage rate was substantially

reduced from the standard USPS postcard rate. Based on the enormous volume here, the reduced

postage rate yielded a savings of several millions of dollars.

       39.     Due to all the work that went into perfecting the mailing database in accord with

industry standards, including obtaining the best address possible for each individual through credit

bureau search and NCOA, the undeliverable rate here was relatively low, particularly considering

that this Class stretches back to 2008 thus saving substantial remail printing and postage fees. As

of August 26, 2021, only 5,803,408 Postcard Notices, less than 8%, were returned undeliverable




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by the USPS. Of that amount, 779,551 were promptly re-mailed to the forwarding address

provided by the USPS.

       40.     Thus, of the 77,360,606 Postcard Notices sent, 72,336,749 or 93.5% were

delivered.

       Email Notice

       41.     As explained above, the Notice Order directed JND to send email notice to any

potential Damages Class Members where the data from Settling Defendants included a valid email

address. Attached as Exhibit B is the Email Notice.

       42.     As detailed in the First Keough Declaration, JND uses industry-leading email

solutions to achieve the most efficient email notification campaigns. Among some of the steps we

took here to ensure high deliverability of the Email Notice were the following: (1) JND worked

with Plaintiffs’ Class Counsel to craft the Email Notice to avoid spam language to improve

deliverability, including running the email through spam testing software, DKIM for sender

identification and authorization, and hostname evaluation and checked the send domain against

the 25 most common IPv4 blacklists; (2) we used a verification program to eliminate invalid email

and spam traps that would otherwise negatively impact deliverability; (3) the email content was

formatted and structured in a way that receiving servers expect, allowing the email to pass easily

to the recipient; (4) we avoided the use of attachments, which can send an email right to spam, and

instead provided a call-to-action button (i.e., “File a Claim”), as well as direct links to the

Settlement Website for more detailed information; (5) with the exception of the recipient name,

we avoided the use of all capitalization, exclamation points, colored font, case-caption boxes,

excessive legalese, and common trigger words to reduce spam; (6) we created an email subject

line identifying the Defendant, with whom the email recipient is very familiar; (7) we used the




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Damages Class Member’s name as the email opener to authenticate and personalize the email; (8)

to ensure readability of the Email Notice, our team reviewed and formatted the body content into

a structure that is applicable to all email platforms; (9) before commencing the email notice

campaign, we sent a test email to multiple ISPs and opened the email on multiple devices (iPhones,

Android phones, desktop computers, tablets, etc.) to ensure the email opens as expected; and (10)

JND included an “unsubscribe” link at the bottom of the Email Notice.

         43.   Despite all of these best efforts, sometimes emails will not go through on the first

attempt. Emails that are returned to JND are generally characterized as either “Soft Bounces” or

“Hard Bounces.” Hard Bounces are when the ISP rejects the email due to a permanent reason such

as the email account is no longer active. Soft Bounces are when the email is rejected for temporary

reasons, such as the recipient’s email address inbox is full. When an email was returned due to a

soft bounce, JND attempted to re-email the email notice up to three additional times in an attempt

to secure deliverability. The email is considered undeliverable if it is a Hard Bounce or a Soft

Bounce that is returned after a third resend.

         44.   Based on all of this work, from March 26, 2021, through May 20, 2021, JND

successfully delivered the initial Email Notice to 27,497,063 Damages Class Members.

         45.   While the direct notice program here was extensive, JND also implemented a

comprehensive media notice campaign to supplement the direct notice program, as discussed

below.




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         D.       CONSUMER MEDIA CAMPAIGN

         46.      JND designed and implemented a robust consumer media campaign, which alone

reached more than 85% of potential members of the Settlement Classes. 6

         47.      The consumer media campaign consisted of the following: (a) digital effort (GDN,

Facebook); (b) print effort (People, Better Homes & Gardens); (c) radio effort (SiriusXM, iHeart

Radio’s Premiere Networks, Pandora/Spotify audio streaming, as well as leading syndicated

programs in the top ten African American markets and Spanish radio in the top ten Hispanic

markets); and (d) television effort (cable, syndicated programming, and network morning news).

         Digital Effort

         48.      On April 1, 2021, JND caused the digital effort to launch with GDN and Facebook.

The digital effort concluded on May 30, 2021, delivering 427,557,696 impressions to adults 18

years of age or older (Adults 18+) throughout the U.S. via GDN and 30,462,085 via Facebook. 7

A total of 46,146,313 impressions, or 10% of the total impressions, were allocated to Spanish

language sites through GDN and Spanish language accounts through Facebook. The digital ads

were served across all devices (desktop, laptop, tablet, and mobile), with an emphasis on mobile.

         49.      Screenshots of the Digital Notices as they appeared on GDN and Facebook in both

English and Spanish are attached as Exhibit C.

         Print Effort

         50.      The print effort consisted of a full-page color notice placement in the April 26, 2021

issue of People, which was on-sale beginning April 16, 2021, and the June issue of Better Homes



6
  Reach is the percentage of a specific population group exposed to a media vehicle or a combination of media vehicles
containing a notice at least once over the course of a campaign. Reach factors out duplication, representing total
different net persons.
7
  Impressions or Exposures are the total number of opportunities to be exposed to a media vehicle or combination of
media vehicles containing a notice. Impressions are a gross or cumulative number that may include the same person
more than once. As a result, impressions can and often do exceed the population size.


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& Gardens, which was on-sale beginning May 14, 2021. Both People and Better Homes &

Gardens are highly read consumer magazines. JND created a QR Code and placed it prominently

within each print notice. This allowed quick and direct access to the Settlement Website through

mobile devices.

       51.    Copies of the Publication Notice as it appeared in People and Better Homes &

Gardens are attached as Exhibit D. These publications have a combined monthly circulation of

over 11 million.

       Radio Effort

       52.    From April 1, 2021, through May 23, 2021, JND caused approximately 1,299 radio

spots to be broadcast through Sirius XM, satellite radio. From April 26, 2021, through May 16,

2021, JND caused 9,048 radio spots to be broadcast through iHeart radio’s two Premiere Networks

(the Scope and Spectrum networks). Some of the radio formats in which our ads broadcast

included Adult Contemporary, Country, and Urban Contemporary. From April 12, 2021, through

May 9, 2021, JND caused 159 radio spots to be broadcast on popular syndicated programs among

African Americans in the top ten African American markets; and 359 radio spots to be broadcast

on two dominant Hispanic radio providers (“SBS” and Univision Radio) in the top ten Hispanic

markets. From April 1, 2021, through May 23, 2021, JND caused 10,702,236 impressions to

stream through Pandora/Spotify audio services. Attached as Exhibit E are texts of the radio spots

in English and Spanish.

       Television Effort

       53.    From April 5, 2021, through May 23, 2021, JND caused 2,625 television spots to

be broadcast across a variety of cable networks, including Animal Planet, CBC, Comedy Central,

Discovery Channel, HLN, The Weather Channel, and TNT. We were able to get placements on




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several marquee programs including “NBA Basketball”, “The News with Shepard Smith”, “South

Park”, “PGA Tour Golf”, and “Shark Tank.” From April 26, 2021, through May 21, 2021, JND

caused 20 television spots to be broadcast across various syndicated programs including “Wheel

of Fortune”, “Wendy Williams”, and “Judge Mathis”. From April 6, 2021, through May 23, 2021,

JND caused 26 television spots to be broadcast on network news programming, such as “Today

Show”, “CBS This Morning”, and “Good Morning America”. 8 Attached as Exhibit F are the texts

of the Televisions spots.

        54.      As the result of our negotiation with broadcasters, the television effort broadcast

1,702 spots more than what was originally planned for the same price. Additionally, 1,597,028

“bonus” or free impressions were negotiated with NBC Universal to stream through its Over-The-

Top Digital Video service.

        55.      The consumer media campaign alone reached at least 85% of potential Class

Members. The extensive direct notice effort, as well as the entity media campaign, the third-party

outreach effort, the internet search campaign, and the distribution of the MNR, all of which are

discussed below, extended reach and notice exposure further.

        E.       ENTITY MEDIA CAMPAIGN

        56.      To buttress notice to entities/companies/businesses, JND employed a digital effort

targeting individuals responsible for filing claims on behalf of entity Damages Class Members,

including senior level Human Resources employees who are engaged in handling and managing




8
 A total of seven additional network morning news spots aired as “makegoods” due to a local programming change
on the ABC stations in five markets: Los Angeles, Phoenix, Portland (OR), San Diego, and Seattle. On Saturday, May
1, 2021, the local ABC stations in the five markets aired the “NFL Draft” instead of “Good Morning America” and
preempted the BCBS scheduled spot. The “makegood” spots aired during the week of May 10th in network morning
news on various affiliates in the affected local markets.


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employee benefits and health plan issues for Class Member entities, as well as business owners

and partners of Class Member entities.

       Entity Digital Effort

       57.     From April 1, 2021, through May 30, 2021, JND caused 957,779 digital

impressions to be served through LinkedIn, the leading professional social media platform, and

1,011,906 digital impressions to be served through leading business websites such as Yahoo

Business, CNBC.com, FastCompany.com, Forbes.com, Bloomberg.com, Entrepeneur.com,

WSJ.com, BusinessInsider.com and AllBusiness.com.

       58.     From April 1, 2021, through April 25, 2021, JND caused 101,446 digital

impressions to be served through the Society for Human Resource Management website

(shrm.org). From April 1, 2021, through April 30, 2021, JND caused 155,734 digital impressions

to be served through Human Resource Executive (hrexecutive.com). From April 1, 2021, through

May 30, 2021, JND caused 35,285 digital Impressions to be served through the National

Association of African Americans in Human Resource (NAAAHR.org).

       59.     Overall, the entity digital effort delivered 81,550 impressions more than what was

originally planned.

       60.     Screenshots of the Entity Digital Notices as they appeared on various websites are

attached as Exhibit G.

       Entity E-Newsletters

       61.     JND also caused notices to be placed in leading business and healthcare and

employee benefits e-newsletters including: the April 6, April 20, May 4 and May 18 issues of

Franchise Times; the April 5, April 12, April 19 and April 26 issues of Entrepreneur; the April 7,

April 14, April 21, and April 28 issues of Harvard Business Review Management Tip of the Day;




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the April 5, April 12, April 19, and May 5 issues of SHRM HR Daily; the April 20, April 27, May

4 and May 11 issues of HREBenefits; the April 29 and May 27 issues of Employee Benefit News

Wellness; the April 30 and May 14 issues of Employee Benefit News First Look; 9 the April 19,

April 30, May 5 and May 10 issues of Healthcare Dive; 10 the April 6 issue of NAAAHR; 11 and the

April 19, April 20, April 21, April 22, and April 23 issues of BenefitsPRO Daily.

        62.      Overall, the entity e-newsletters delivered 1,777,525 more sends than what was

originally planned.

        63.      Screenshots of the Entity Digital Notices as they appeared in each of the e-

newsletters are attached as Exhibit H.

        64.      As summarized in Exhibit I, the media campaign significantly overdelivered

beyond what was originally planned. Overall, we received 32,319,045 bonus consumer digital

impressions (includes 30,019,781 digital impressions, 702,236 radio streaming impressions and

1,597,028 television streaming impressions), 1,165 bonus radio spots, 1,702 bonus television

spots, 81,550 bonus entity digital impressions, and 1,777,525 bonus entity e-newsletter sends for

no additional cost.

        F.       ADDITIONAL EFFORTS

        65.      JND undertook additional efforts to further disseminate notice to Class Members,

including a third-party outreach effort, a specially designed internet search campaign, and a MNR

that worked in tandem with the media campaign to increase awareness of the Settlement. In



9
  Employee Benefit News changed the name of its e-newsletter from Healthcare to Wellness and moved its distribution
day from Tuesday to Thursday. Two of the issues of Employee Benefit News Wellness were sold out at the time of
placement. As a result, the sold-out placements were replaced with two placements in Employee Benefit First Look
e-newsletter.
10
   Healthcare Dive weekly e-newsletter was sold out at the time of placement. As a result, the sold-out insertions
were replaced with four insertions in Healthcare Dive In-Line, which provides a larger audience.
11
   NAAAHR is a monthly e-newsletter. Originally two insertions were planned; however, at the time of placement one
of the two insertions was sold out. As a result, an extra month of activity was placed at NAAAHR’s website.


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addition, a link to the Settlement Website was placed on BCBS.com by Settling Defendants. JND

will also implement a media claims stimulation reminder effort prior to the claims filing deadline

to alert Class Members of the approaching claims deadline.

       Outreach Effort

       66.     JND purchased a list of HR/employment benefit employees, and other relevant job

titles through a third-party outreach list provider. On May 7, 2021, JND utilized the information

from the purchased list to send mailed notice to over 165,094 contacts. The cover letter that we

sent was a personalized letter from me asking for assistance in getting notice out to the constituents

of the organizations. In response, I received hundreds of responses directly to me by phone and

email asking how they could assist and telling me that they were disseminating notice. A copy of

the third party Mailed Notice is attached as Exhibit J.

       Internet Search Campaign

       67.     From April 1, 2021, through May 30, 2021, JND caused 703,008 impressions to be

delivered through an internet search effort. When purchased keywords related to the Settlement

were searched, a paid ad with a hyperlink to the Settlement Website would sometimes appear on

the search engine results page. The search effort was monitored and optimized. For instance,

keyword adjustments were made based on user search queries and modifications were made to

boost text ad placement specifically between 7am-11:30am, to correspond with the expected

increase in site traffic due to the airing of CBS television network AM news spots. A screenshot

of the search ad as it appeared is attached as Exhibit K.

       Press Coverage

       68.     On April 6, 2021, JND caused the MNR to be distributed into newsrooms, online

syndication, and PR Newswire for Journalists, an exclusive members-only community of more




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than 41,000 influential journalists and bloggers. The MNR assisted in getting “word of mouth”

out about the Settlement. Additionally, the MNR included online access to the radio and television

spots. As of August 13, 2021, the MNR received 16,727 total page views, reaching 13,157 unique

users. In addition, the MNR received 199 pickups with a total potential audience of 153,531,155.

       69.     From October 31, 2020, through May 2021, JND monitored press coverage about

the Settlement beyond that of the MNR. JND found there to be extensive news coverage,

increasing exposure and reach to Class Members. Overall, we found more than 100 articles

covering the Settlement, some of which were picked up by multiple news sources.

       70.     Exhibit L provides an Earned Media Report summarizing the coverage received

from the MNR, as well as articles found through JND’s monitoring. A copy of the MNR as it was

distributed in both English and Spanish is also included with Exhibit M.

                        III.    CLAIMS STIMULATION EFFORTS

       71.     Once the Notice Program was completed, JND immediately began its efforts to

encourage those Class Members who had not yet submitted a claim to do so. The best way to

stimulate claims is the same as the best way to get out notice – through direct contact with class

members. As such, once the Notice Period ended, we began a robust outreach through email. We

have done the following on that score: (1) We have been sending reminder emails to all potential

Damages Class Members based on the data provided by the Blue Plans. These emails are going

to potential Damages Class Members who have not filed a claim or excluded themselves; (2) We

conducted an email append process through a credit bureau search and located email addresses for

people where the Blue Plans had none. We are sending reminder emails out to this group as well,

again, only to individuals who have not yet filed a claim or excluded themselves.




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       72.       In addition, we have continued to follow up with the HR groups. On June 17, 2021,

JND utilized the information from our purchased list to send email notice to over 54,155 contacts.

A copy of that third-party Email Notice is attached as Exhibit N. We have heard from many

representatives who tell us that they are proactively reaching out directly to their members and

urging them to file claims.

       73.       We know that these direct outreach efforts have been working. Since starting the

reminder email efforts, we have been receiving approximately 25,000 claims per day.

       74.       We will continue to perform these efforts until one week before the claims filing

deadline. In addition, we plan to institute a reminder mailing to all entities with 30+ owned entities

and we will also send a mailing to the largest entities measured by lives under Plans.

       75.       We will also institute a media reminder campaign. The reminder program consists

of People Magazine, radio, a consumer digital campaign, an entity e-newsletter effort, and a press

release.

       76.       The reminder consumer digital campaign includes: (1) targeting to key

demographics; (2) retargeting; (3) look-alike targeting; (4) email matching; and (5) a search effort.

Digital banner ads will be targeted to demographics that achieved the best key performance

indicators (“KPIs”) during the Notice Period, such as click throughs to the Settlement Website and

online claims filed; as well as to individuals who visited the Settlement Website but did not

complete     a      claim     submission     form      (retargeting),    and     individuals     who

demographically/geographically match with those Damages Class Members who have already

filed online claims (look-alike targeting). An audience custom list will also be derived from emails

of Damages Class Members who have not yet filed a claim or opted out. These emails will be

matched with the emails of our programmatic partner, as well as Facebook and Instagram accounts.




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Ads will then be served through our programmatic partner, and across Facebook and Instagram to

active matched accounts. The digital search effort will focus on keywords/phrases that achieved

the best KPIs during the Initial Notice Plan.

       77.     The reminder entity e-newsletter effort consists of digital ads being placed in entity

e-newsletters that achieved the best KPIs during the Initial Notice Plan (e.g., SHRM HR Weekly,

BenefitsPro Daily, Healthcare Dive).

       78.     Finally, a press release with a claims deadline reminder message will be distributed

nationwide to approximately 15,000 media outlets, including both English and Spanish outlets, as

well as to Human Resource Influencers who are looking for news on benefits, best practices,

diversity, equal opportunity employment, labor relations news, and more.

                               IV.     SETTLEMENT WEBSITE

       79.     The overall notice effort was designed to drive people to the Settlement Website,

www.BCBSsettlement.com, where they could find an abundance of information about the

Settlement as well as the portal to file a claim online. Considering the size of the Class here,

designing the website was a Yeoman’s effort because not only did it need to have a user-friendly

interface, but it also needed a robust back-end infrastructure to allow its performance to handle

millions of hits, all while guarding against cyber-attack. Building the Settlement Website actually

required building multiple sites as follows: First, we launched a registration website on December

16, 2020. This provided a mechanism for people who wanted to confirm that they would be

receiving notice to provide us with their contact information. Second, on February 5, 2021, we

expanded this pre-launch version of the website to include a stylish homepage design, certain

FAQs, important documents, and key dates. On March 16, 2021, in anticipation of the start of the

actual Notice Program we launched the online claim filing portal, added a section regarding the




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Second Blue Bid information and updated the remainder of the site in anticipation of the Postcard

Notice mailing. This Launch version of the Settlement Website hosts copies of important case

documents including downloadable copies of the Long Form Notice (attached as Exhibit O), the

Claim Form (attached as Exhibit P), the Class Action Complaint, the Settlement Agreement, the

Plan of Distribution, and the Preliminary Approval Order; contains answers to frequently asked

questions; provides key dates; and provides contact information for the Claims Administrator. The

Settlement Website also allows Class Members to submit claims electronically through a secure

claim filing portal. The Settlement Website is available in English and Spanish. JND’s team

continuously works on maintenance and optimization of the site to make sure the performance

continues to be robust and that all necessary security features are working as required.

       80.     In addition to reserving the Settlement Website URL – www.BCBSsettlement.com

– we also reserved hundreds of additional URLs of similar sound and construction in order to

prevent them from being used for nefarious purposes. For example, it is not uncommon for bad

actors to purposely purchase URL’s with common typographical errors in the hopes of luring

unsuspecting visitors to the wrong site. These sites may be used to generate advertising revenue

using ads and pop-ups, host malware, or even attempt to impersonate or “spoof” an official

settlement website. JND also performs searches for URL’s potentially related to the BCBS

Settlement by using unique search terms. Discovered URL’s are then reviewed for suspected

phishing, spoofing, and malicious material. In addition, our team continuously monitors the site

for suspicious activity.

       81.     Because the Settlement Website is the easiest and most cost-effective way for Class

Members to receive information about the Settlement and Claims process, it was important to

make sure people could easily find the site on the Internet. Thus, the Settlement Website was




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designed to maximize search engine optimization through Google and other search engines.

Keywords and natural language search terms were included in the site’s metadata to maximize

search engine rankings.

       82.     As importantly, the Settlement Website was built to withstand an expected load of

millions of “hits.” The Settlement Website was built in accordance with industry standard best

practices to ensure the security and privacy of information submitted. Secure coding practices and

adherence to the Open Web Application Security Project’s (OWASP) Top Ten standards were

employed throughout the development lifecycle. Penetration testing was also performed to verify

the security of the site.       The site has been designed in accordance with standard 3-Tier

(Web/App/Data) architecture with Web Application Firewalls (WAF) deployed in front of the site

to monitor for malicious traffic and security event logs transmitted to a Security Information and

Event Management (SIEM) solution. Transport Layer Security (TLS) encryption is employed for

all communication with the Settlement Website, and encryption is utilized for communication

between the 3 tiers, as well. Additionally, data submitted to the Settlement Website is encrypted

when at rest in the database.

       83.     To make sure everything would work as expected, the Settlement Website was

tested using both automated tools and human assessment to comply with best practices found in

Web Content Accessibility Guidelines 2.1 and Section 508 of the federal Rehabilitation Act. The

site is mobile-enabled and ADA compliant. It was thoroughly tested on various devices and

browsers. The Settlement Website also underwent load testing where the simulated user load was

run from multiple geographic regions to assess all layers of the site infrastructure, including

networking, application, and data storage layers. Testing was done to exceed thresholds of actual

traffic from other large projects.




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       84.     JND also retained a reputable, independent, third-party cybersecurity firm to

perform penetration testing on the Settlement Website throughout the development and

deployment process. These tests were designed to assess, in part, the security of the web

application’s logic, configuration, software, data flow, authentication, and authorization and were

performed using a combination of automated and manual testing methodologies. Automated

testing was performed utilizing a combination of tools, such as, web application vulnerability

scanners, port scanners, and packet and protocol analyzers. After automated scan results were

analyzed, a detailed manual examination of the site was performed utilizing advanced techniques

and tactics by GIAC (Global Information Assurance Certification) certified individuals.

       85.     The Settlement Website has handled load extremely well, with no reports of

slowness or latency. As of August 26, 2021, the Settlement Website has tracked 14,844,643 unique

visitors, 20,666,254 sessions, and 112,006,163 total pageviews. Also, as explained more fully

below, we have received more than 6 million claims via the Settlement Website claim filing portal.

                       V.   DEDICATED CALL CENTER AND EMAIL

       86.     Other vehicles for handling Class Member inquiries in this case include the call

center and an email address, info@BCBSsettlement.com.

       87.     We established and have maintained a dedicated toll-free telephone number

(888-681-1142) with an automated IVR, available 24 hours a day, seven days a week. The toll-

free telephone line provides Settlement-related information to Class Members, and the ability to

request and receive the Long Form Notices and the Claim Form by mail. Class Members also

have the option to speak with Customer Service Representatives five days a week during business

hours. These Customer Service Representatives provide Settlement-related information and fulfill

requests for notice.




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         88.    Just as with the Settlement Website, we launched the call center in stages. The IVR

launched way back on October 30, 2020, when the Preliminary Approval Motion was filed, with

a placeholder message “We will be launching the BCBS Settlement phone line soon. Please check

back later. Thank you.” The placeholder message was changed on January 26, 2021, to “The Blue

Cross Blue Shield Settlement phone line will go live when Class Notice begins in the spring of

2021.     Until then, please visit the website BCBSsettlement.com for the most up-to-date

information.”

         89.    The IVR was updated on March 10, 2021, to include the option to leave a voicemail.

The full message was “Thank you for calling the Blue Cross Blue Shield Settlement Claims

Administrator. Class Notice will begin in the Spring of 2021. For the most up-to-date information,

please visit BCBSsettlement.com.       If you would like to leave a message for the Claims

Administrator and receive a return call, please press one to leave a voicemail.”

         90.    The full Call Center, with live agents, was launched on March 26, 2021, a few days

before the Postcard Notice Mailing commenced. The training for telephone agents has been

extensive here. With the input of counsel for both sides, JND developed a 29-page telephone

script, containing some 136 potential FAQs. The script is continually updated as caller trends

suggest new FAQs. Training consisted of classroom sessions, quizzes, games, mock calls, and

other simulations. We initially launched the program with 100 operators to handle the expected

volume. As the Notice Program progressed, we have increased our staffing to as high as 240

agents on the phones in one day. Operators are available to answer calls in English and Spanish.

         91.    In addition to the call center agents, JND has escalation phone agents who are

available to handle calls transferred from the call center agents. The escalation agents are trained

to handle Class Member questions that require more sophisticated knowledge; responses that




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require collaboration with counsel and/or the case project team; third-party filer questions; and HR

professional calls. More specifically, they handle requests to speak to a supervisor; calls that

require clarification beyond the scripted response to questions; upset and/or concerned callers,

including those who want to confirm the legitimacy of the Settlement, notice, website, etc., those

concerned about providing personal information or inquiring how we received their information,

those having difficulty providing information or locating the specific documentation needed to

support their claim, and those needing step-by-step or ADA assistance filing a claim. The

escalation agents also return calls; assist with inbound calls when the volume is high; identify

scripting needs or updates; assist the email team with processing incoming emails and completing

call back requests received via email; and handle quality assurance including reviewing and

monitoring calls, providing feedback, and coaching to call center agents, completing QA

assessments, and other ongoing training.

        92.     As of August 26, 2021, the toll-free line has received 1,062,431 incoming calls.

        93.     Similar to the call center agents, JND also has email team agents who handle Class

Member, general public, counsel, and business entity email inquiries. The email agents review

and respond to incoming emails that are sent in many languages, including Spanish, French,

Korean, and Chinese, among others. The email team responds to a multitude of questions. The

most common issues revolve around Class Member requests for assistance with filing a claim,

modifying a submitted claim, withdrawing a claim, confirming receipt of a Claim Form, address

update requests, or questions about other submitted documentation. This team also responds to

Class Members who could not be contacted via telephone after multiple attempts, if an email

address is on file.




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          94.   As of August 26, 2021, we have received and responded to well over 100,000

emails.

                            VI.     OBJECTIONS AND OPT OUTS

          95.   JND established two separate United States Post Office Boxes: one dedicated for

Class Members to submit letters, inquiries, and Claim Forms; and one dedicated strictly to receive

Objections and Opt-Out requests. The deadline to object to or request exclusion (opt out) from

the Settlement was July 28, 2021. As of August 31, 2021, JND has received 2,049 timely and

valid exclusion requests and 40 timely objections from 123 objectors. Attached as Exhibit Q is a

list of timely and valid exclusion requests.

                                  VII.    CLAIMS RECEIVED

          96.   The deadline for filing claims in this case is November 5, 2021. Thus, Class

Members still have over two months to file a claim. Nevertheless, JND has already received, as

of August 26, 2021, a total of 6,077,526 claims comprised of 177,687 claims reporting that they

are filing on behalf of companies/businesses/entities, 1,381,112 claims from individuals reporting

that they purchased health insurance directly from a BCBS Company, and 4,194,942 claims from

employees. In addition, 323,785 are reporting that they are filing both as an individual who

purchased directly and as an employee since their status changed during the Settlement Class

Period. This is a very robust filing rate for a class of this size, particularly considering that the

claims filing deadline is still more than two months away. The vast majority of claims have been

filed online (over 99%). We have also created a program that allows the mass filers to submit on

one form (electronically) which significantly streamlines their ability to file en masse.

          97.   Although we have not yet begun the task of reviewing and evaluating claims, we

can report that more than 99% of claims have opted for the default option. We have also analyzed




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the geographic dispersion of claims and can report that claims have been filed by Class Members

from every state in the country. I believe the overall claim filing results thus far speak to the

quality of the Settlement here and the Notice Program.

        98.     Claims will be calculated using data produced by the Settling Defendants, in

accordance with the Plan of Distribution. To the extent more than one claimant attempts to make

a claim that would rely on the same data, that will be flagged for resolution by JND.

                                      VIII.     CONCLUSION

        99.     In my opinion, the Notice Program as described herein provided the best notice

practicable and is consistent with, if not more robust than, other similar court-approved best notice

practicable notice programs, Rule 23 of the Federal Rules of Civil Procedure, and the FJC’s

guidelines for Best Practicable Due Process notice. It meets due process and Rule 23 requirements

to apprise Class Members of the pendency of the Subscriber Actions, the Settlement Agreement,

and their opportunity to be heard and to opt out. The Notice Program was designed to reach as

many Class Members as practicable and provide them with the opportunity to review a plain

language notice with the ability to easily take the next step and learn more about the Settlement

and file a claim if they so desire.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                              Executed on September 3, 2021, in Seattle, Washington.



                                               ____________________________________________
                                               JENNIFER M. KEOUGH




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